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                18-1468-cr (L)
               18-1916-cr (con)
               18-2795-cr (con)
            ___________________________________________
              UNITED STATES COURT OF APPEALS
                   FOR THE SECOND CIRCUIT
            ___________________________________________
                  UNITED STATES OF AMERICA,

                                               Appellee,
                                     -v-

                           Tammy M. Martin,

                                           Defendant,
                  __________________________________

                 CLIF J. SEAWAY, TAMMY LAMERE,

                                         Defendants-Appellants.
            ___________________________________________

   ON APPEAL FROM THE UNITED STATES DISTRICT COURT
          FOR THE NORTHERN DISTRICT OF NEW YORK
__________________________________________________________________
                      BRIEF ON APPEAL FOR
            DEFENDANT-APPELLANT CLIF J. SEAWAY
__________________________________________________________________
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                      JURISDICTIONAL STATEMENT

      This appeal is taken from a judgment of conviction, pertaining to

two indictments (16-cr-339, 16-cr-340), imposed against the Defendant-

Appellant, Clif J. Seaway, in the United States District Court for the

Northern District of New York by the Honorable Norman A. Mordue,

Senior United States District Court Judge, entered on May 8, 2018. A.

128.1 The district court had subject matter jurisdiction, pursuant to 18

U.S.C. § 3231, because this was a criminal case alleging violations of 18

U.S.C. §§ 2251(a) & (e). A. 37, 41. Jurisdiction in this appeal is invoked

in this Court pursuant to 28 U.S.C. § 1291 and 18 U.S.C. § 3742. A timely

Notice of Appeal was filed under indictment 16-cr-339 on May 10, 2018.

A. 137. An untimely Notice of Appeal was filed under indictment 16-cr-

340 on September 14, 2018.2 A. 138.



1 Citations to the Appendix (A) are to the page numbers inserted therein.
2 The two matters were consolidated for trial on September 20, 2017, and indictment
16-cr-339 was made the lead case with direction from the district court that: “All
future filings as to Defendant Seaway including all pretrial documents must be filed
only in the lead case, 5:16-cr-339. No further filings shall be docketed in the member
case as to Defendant Seaway only, 5:16-cr-340.” A. 118, 121. One judgment was
issued for both matters referencing both indictments. A. 128, 130. As a result, a
Notice of Appeal was inadvertently not filed under indictment 16-cr-340. In order to
preserve jurisdiction with this Court, a Notice of Appeal was filed on September 14,
2018, when defense counsel first noticed the error. A. 138.
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      STATEMENT OF THE ISSUE PRESENTED

WHETHER THE DISTRICT COURT ERRED IN FAILING
TO SUPPRESS EVIDENCE SEIZED PURSUANT TO A
WARRANT LACKING PROBABLE CAUSE WHERE IT WAS
BASED ON THE UNCORROBORATED ALLEGATIONS OF
AN UNTESTED INFORMANT WHO WAS NOT CREDIBLE
OR RELIABLE.




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                      STATEMENT OF THE CASE

     Clif J. Seaway was charged by two indictments with multiple

counts of sexual exploitation of five minors, in violation of 18 U.S.C. §§

2251 (a) & (e). A. 37, 41. Indictment 16-cr-339 charged Seaway and

Tammy M. Martin with one count of conspiracy to sexually exploit three

minors (V-1, V-2, V-3) between 2001 and 2008, in violation of 18 U.S.C. §

2251(a) & (e). A. 37. The indictment also charged Seaway and Martin

with three counts of sexually exploiting the same victims during the same

time period under an aiding and abetting theory, in violation of 18 U.S.C.

§§ 2251(a) and 2(a). A. 38. Seaway was separately charged with two

counts of sexually exploiting V-1, and one count of sexually exploiting V-

3, in violation of 18 U.S.C. § 2251(a). A. 38.

     Indictment 16-cr-340 charged Seaway and Tammy J. Lamere with

one count of conspiracy to sexually exploit V-3 between 2010 and 2013,

in violation of 18 U.S.C. §§ 2251 (a) & (e). A. 41. Seaway and Lamere

were also charged with one count of sexually exploiting V-3 during the

same time period under an aiding and abetting theory, in violation of 18

U.S.C. §§ 2251(a) and 2(a). A. 41-42. Lastly, Seaway was separately


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charged with one count of sexually exploiting V-3, one count of sexually

exploiting V-4, and one count of sexually exploiting V-5, in violation of 18

U.S.C. § 2251 (a). A. 42.

      After pleading not guilty to both indictments, Seaway moved to

suppress all evidence seized pursuant to a search warrant on the ground

that it was not supported by probable cause. A. 45, 69. Seaway also

moved to suppress the statement he made to law enforcement on

February 24, 2016, on the ground that it was involuntary and the fruit of

the tainted search. A. 45, 48, 50, 69, 72, 74.           On June 22, 2017, the

district court issued a Memorandum-Decision and Order denying both

motions. A. 109.

      By Order dated September 20, 2017, the two indictments were

consolidated for trial and the charges against Seaway, under indictment

16-cr-340, were severed from the charges against Lamere.3                  A. 118.

Following a four-day jury trial, Seaway was found guilty of all counts

alleged in both indictments. A. 122-125. On May 3, 2018, Seaway was



3On August 21, 2017, Tammy M. Martin pled guilty to counts 2, 3, and 4 of indictment
16-cr-339. A. 11. On December 18, 2017, Tammy Lamere pled guilty to counts 1 and
2 of indictment 16-cr-340. A. 33.
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sentenced to a combined term of 4,320 months’ (or 360 years’)

imprisonment, life supervised release, and a $1,200 special assessment.

A. 128-136. Seaway filed a timely notice of appeal under indictment 16-

cr-339 on May 10, 2018 and an untimely notice of appeal under

indictment 16-cr-340 on September 14, 2018.4 A. 137, 138.

         This appeal centers exclusively on a warrant issued to state and

federal authorities to search Seaway’s residence, vehicles, computers,

and electronic media. A. 56-67.

A. The Search Warrant

         On January 14, 2016, William Raymond, III, while incarcerated at

the Onondaga County Justice Center in Syracuse, New York, for the

crimes of second-degree rape, second-degree criminal sex act, and

endangering the welfare of a child, provided a statement to an

investigator with the New York State Police Department accusing

Seaway of possessing images and videos of minors on his computer that

were sexual in nature. A. 53, 66-67. Raymond informed that Seaway was




4   See footnote 2.
                                         5
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his uncle whom he lived with from August of 2015 through September

20, 2015. A. 66.

      In his statement, Raymond, who was 35 years old, stated he had a

13-year-old girlfriend while he was living with Seaway. A. 66. It was

this relationship that formed the basis of his state charges.5 A. 53.

Raymond alleged that he worked on computers with Seaway during the

time he lived with him and shared pictures of his “old girlfriends” with

Seaway. A. 66. Raymond showed these images to Seaway after he saved

the files to Seaway’s computer in a folder labeled “Billy’s phone.” A. 66-

67. According to Raymond, Seaway then showed him pictures of “naked

female kids that were under 10 years old.” A. 66. He described two

images he had observed on Seaway’s computer. The first image was of a

girl “about 6 years old sitting in a spread eagle position” and the other

was an image of “an underage girl on her hands and knees in a doggy

style pose” that showed her vagina. A. 66. Raymond said he knew the




5 Raymond was ultimately convicted of Rape, 2nd Degree, Criminal Sexual Act, 2nd
Degree, Class D Felonies, in violation of NY Penal Law §§ 130.30, 130.45,
respectively,    and   sentenced   to   five   years’   imprisonment.       See
http://nysdoccslookup.docs.ny.gov.
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females were underage because he was the father to “7 kids between the

ages of 5 and 16.” A. 66.

     Raymond also claimed Seaway had a hard drive that had a bronze

or gold outer cover that he would plug into his main computer. A. 66.

This hard drive contained a folder with videos “of young girls less than

10.” A. 66. He described two videos. One was of a naked girl, maybe 11

or 12, dancing and possibly masturbating. A. 66. The second was of a

naked girl, possibly 5 or 6 years old, lying on a bed as an adult female

rubbed her chest and vagina. A. 66. Raymond believed an adult male

was filming because the legs were visible in the video. A. 66.

     Raymond told the investigator that he had witnessed Seaway

playing a virtual reality game, “Second Life,” while posing as a 5-year-

old girl. A. 67. Seaway would attach “images of naked kids to his room

within this game” and allow people to view them. A. 67.

     Finally, Raymond claimed Seaway had told him he had a DVD that

contained pictures and a video taken by Seaway five or six years ago of a

female that was a friend to his daughter, who was 7 or 8 years old at the

time. A. 66. Raymond stated that Seaway told him “he was playing with


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her, but he was not specific about it.” A. 66. Raymond did not ask any

questions and indicated the DVD was lost. A. 66. Raymond admitted to

using Seaway’s computer and saving files to the computer while he lived

there.   A. 66-67.     Raymond’s statement includes Seaway’s computer

password. A. 67.

     Five days following Raymond’s statement, New York State Police

Investigator Michael R. Eckler ran a criminal history check for Seaway

and learned Seaway had been arrested by the Watertown Police

Department in 2009 and charged with the misdemeanor offense of

endangering the welfare of a child. A. 63.          The Watertown Police

Department had no information in their system about the 2009 arrest

but indicated Seaway had been a suspect in a 2005 incident where it was

alleged Seaway had touched an 8 year old female in her “pee-pee” area

and had the victim touch his penis. A. 63. The investigation was closed

because attempts to make contact with the victim and her mother were

unsuccessful. A. 63.

     On February 17, 2016, Investigator Eckler verified the address

Raymond attributed to Seaway’s residence. A. 63.


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     On the basis of this information, Investigator Eckler applied for a

search warrant for Seaway’s residence to seize, search, and examine:

     1. Any and all computers, computer program, computer data
     and/or computer network information as those terms are
     defined in Penal Law 156.00.

     2. Any computers, central processing units, external and
     internal drives, storage units or media, terminals and video
     display units, together with peripheral equipment such as
     keyboards, printers, modems, scanners, or digital cameras
     and their internal and external storage media.

     3. Any and all computing or data processing software, or data
     including, but not limited to hard disks, floppy disks,
     magnetic tapes, and integral RAM or ROM units which may
     reveal evidence which substantiates violations of the
     aforementioned NY State Penal Statutes.

     4. The following records and documents, whether contained
     or stored on the computer, cell phone, magnetic tape, cassette,
     CD disk, diskette, photo-optical device, Cloud Storage, or any
     other storage medium, in the form of internet history, SMS,
     MMS, IM:

           a. Any access numbers, passcodes, swipe code patterns,
           passwords, personal identification numbers (PINS),
           logs, notes, memoranda and correspondence relating to
           computer, electronic and voice mail systems, Internet
           addresses and/or related contacts.

           b. Any computing or data processing literature,
           including, but not limited to printed copy, instruction
           books, notes, papers, or listed computer programs, in
           whole or in part.

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              c. Any audio or video cassette tape recordings, books,
              magazines, periodicals, or other recorded or printed
              material, the possession of which constitutes or supports
              evidence of a violation of Articles 130, 260, and or 263 of
              the Penal Law of the State of New York.

              d. Any and all photographs depicting sexual conduct by
              a child and/or minors engaged in sexually explicit
              conduct.

              e. Any records or correspondence relating to the
              possession, transmission, collection, trading, or
              production of the aforementioned photographs and/or
              videos.

     5. Any Internet capable device, such as cell phone, tablet,
     smartphone, gaming system that allows access to the internet
     and allows for the transmission of data in violation of or
     supporting a violation of Articles 130, 260, and 263 of the New
     York State Penal Law.

A. 58-59.

Investigator Eckler’s overview of the investigation stated:

     On January 15, 2016, William B. Raymond provided a
     supporting     deposition    indicating  evidence     of   the
     aforementioned crimes may be located at …in the Town of
     Granby. William Raymond observed images and videos of
     child pornography while residing at this residence during
     August through September of 2015. An account of these
     events is included in the attached supporting deposition. It is
     alleged by William B. Raymond that his uncle Clif had
     sexually abused a child and that Clif Seaway possessed
     photographs he had taken of a young girl who had stayed

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      overnight at this residence several years ago. The deposition
      is attached for further details.

A. 63.

Based on Raymond’s statement, Investigator Eckler had “cause to believe

that a computer or computers located” at Seaway’s residence “may

contain images of child pornography” and that these images were made

“available for distribution via the Internet, in violation of Article 130,

260, and 263 of the Penal Law.” A. 63.

      Upon being presented with this application, Oswego County Court

Judge Donald E. Todd issued a warrant on February 18, 2016 to search

Seaway’s residence for the property described above. A. 56-57.

      The warrant was executed on February 23, 2016. A. 56. Numerous

items of electronic media and devices6 were seized from Seaway’s

residence. A. 95. Forensic examination of this material uncovered the

evidence used to return the two indictments against Seaway, Martin, and

Lamere. A. 95.




6The term “electronic devices” is used in this brief to refer to computers and related
equipment, cameras and related equipment, and other devices capable of storing
digital and analog information.
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B.    The district court’s decision denying Seaway’s suppression motion

      On February 28, 2017, Seaway moved to suppress evidence

obtained and derived from the search warrant.7 A. 45. In support,

Seaway argued that the warrant was not supported by probable cause

because the warrant application was based on an unreliable informant,

Raymond, who provided the information to law enforcement while

incarcerated for committing sex offenses against a 13-year-old minor. A.

48-50, 72-74. Secondly, law enforcement made no efforts to corroborate

the information provided by Raymond, other than verifying Seaway’s

address. A. 49-50, 73-74. Seaway also requested that the district court

hold a hearing. A. 47, 50, 52, 71, 74, 76.

      The government filed a response in opposition to Seaway’s motion

to suppress on March 24, 2017.8 A. 93. The government argued that

Raymond was a reliable informant because he was interviewed in person,

signed a written affidavit under penalty of perjury, and was Seaway’s

nephew. A. 100-102. The government pointed to the detail in Raymond’s


7 The February 28, 2017 motion pertained to indictment 16-cr-339. The identical
motion was filed under indictment 16-cr-340 on March 3, 2017. A. 69.
8 Since Seaway’s motions under indictments 16-cr-339 and 16-cr-340 were identical,

the government filed one response to the motions. A. 93.
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statement as evidence of reliability.         A. 100-101.      The government

contended that law enforcement sufficiently corroborated Raymond’s

information when they verified Seaway’s address. A. 99-100.               Finally,

the government argued the good faith exception precluded suppression of

the evidence. A. 102-103.

      On June 22, 2017, the district court denied Seaway’s motion

without a hearing.9 A. 109. The court’s reasons were as follows:

      The fact that Raymond was in jail for a serious crime
      undermines his veracity to some degree. In addition, it
      appears that, except for confirming Seaway’s address, police
      did not attempt to corroborate Raymond’s information.
      Nevertheless, interpreting Raymond’s declaration in a
      commonsense manner, the Court finds that under the totality
      of the circumstances, County Court Judge Todd had a
      substantial basis for concluding that probable cause existed.
      See Gates, 464 U.S. at 236. In his face-to-face interview with
      Investigator Miller, Raymond explained that he was Seaway’s
      nephew. He gave the police Defendant’s address, which the
      police confirmed. He explained why he was at Seaway’s home
      at the time of the incident and gave Investigator Miller a first-
      hand, detailed description of the conversation that led Seaway
      to show Raymond the photographs and videos. Raymond gave
      explicit details about the photographs and videos and
      explained that he knew the children were under 10 years old
      because he had children himself. Raymond’s first-hand
      observation of the photographs and videos and his detailed

9 The district court’s order erroneously stated Seaway did not request a hearing on
the search warrant issue (A. 112, fn. 1), but Seaway’s moving papers did request an
evidentiary hearing (A. 47, 50, 52, 71, 74, 76).
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     descriptions of them, as well as his detailed and plausible
     description of the surrounding circumstances, establish the
     basis of his knowledge and are strong indicia of the reliability
     of his statement. In addition, Raymond’s description of the
     manner in which Seaway stored the files is consistent with
     the affidavit of Investigator Eckler and provides additional
     indicia of reliability. The search warrant was supported by
     probable cause, and the evidence seized is admissible.

A. 113.

C.   Seaway’s trial and sentence

     On September 20, 2017, the two indictments were consolidated for

trial, which commenced on December 11, 2017 and concluded on

December 14, 2017, with a jury verdict of guilty on all counts charged in

the two indictments. A. 16, 118, 120, 121, 122-125. On May 3, 2018, the

district court sentenced Seaway to a 360-year term of imprisonment,

consisting of 360 months’ on each count of conviction, imposed to run

consecutively with each other; life supervised release; and a $1,200

special assessment. A. 128, 131, 132, 135.        Judgment was entered on

May 8, 2018. A. 128. This appeal ensued to challenge the district court’s

denial of Seaway’s motion to suppress physical and verbal evidence

derived from a search warrant lacking probable cause.



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                   SUMMARY OF THE ARGUMENT

     This appeal concerns the district court’s erroneous denial of

Seaway’s motion to suppress physical and verbal evidence that was

obtained through a search warrant lacking probable cause. The district

court’s totality of the circumstances analysis cannot survive scrutiny

because the search warrant’s lack of probable cause stemmed from the

uncorroborated allegations of an untested informant. The informant’s

statement, attached to the search warrant application, did not provide

the issuing judge with any indication that the informant was truthful,

credible, or reliable and law enforcement failed to corroborate the

informant’s allegations. The good faith exception to the exclusionary rule

should not apply to the facts of this case because the search warrant

application was deficient on its face, and the issuing judge was misled by

the omission of the informant’s criminal history from the search warrant

application.   Therefore, this Court should find that the district court

erred in failing to suppress evidence directly seized and derived from the

unconstitutional search warrant.


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                               ARGUMENT

     THE DISTRICT COURT ERRED IN FAILING TO
     SUPPRESS EVIDENCE SEIZED PURSUANT TO A
     WARRANT LACKING PROBABLE CAUSE WHERE IT WAS
     BASED ON THE UNCORROBORATED ALLEGATIONS OF
     AN INFORMANT WHO WAS NOT CREDIBLE OR
     RELIABLE.

A.   Standard of review

     When reviewing the denial of a motion to suppress, this Court

analyzes a district court’s factual findings under a clearly erroneous

standard and its legal conclusions de novo. See United States v. Worjloh,

546 F.3d 104, 108 (2d Cir. 2008).

B.   Discussion

     The Fourth Amendment provides that “no Warrants shall issue, but

upon probable cause, supported by Oath or affirmation, and particularly

describing the place to be searched, and the persons or things to be

seized.” U.S. Const. amend. IV. “Probable cause is a fluid concept—

turning on the assessment of probabilities in particular factual

contexts—not readily, or even usefully, reduced to a neat set of legal

rules.” Illinois v. Gates, 462 U.S. 213, 232 (1983). Because of this,

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probable cause determinations are reviewed under the totality of the

circumstances. Id., at 238.

     When a warrant is based on an affidavit, “[t]he task of the issuing

magistrate is simply to make a practical, common-sense decision

whether, given all the circumstances set forth in the affidavit before him,

including the ‘veracity’ and ‘basis of knowledge’ of persons supplying

hearsay information, there is a fair probability that contraband or

evidence of a crime will be found in a particular place.” Id. Probable

cause may be based upon information from an informant so long as the

tip bears sufficient “indicia of reliability.” Id., at 233. Review of an

informant’s tip under the totality of the circumstances assesses “an

informant’s veracity, reliability and basis of knowledge, and the extent to

which an informant’s statements—even statements about a suspect’s

innocent activities—are independently corroborated.” United States v.

Gagnon, 373 F.3d 230, 236 (2d Cir. 2004).

     To provide a deterrent safeguard, the Supreme Court has held that,

absent some exception, evidence seized in violation of the Fourth

Amendment must be suppressed. Weeks v. United States, 232 U.S. 383


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(1914); Mapp v. Ohio, 367 U.S. 643 (1961). The exclusionary rule also

extends to ill-gotten evidentiary fruit of the poisonous tree, including

statements obtained as a result of an arrest executed pursuant to an

illegal warrant. See, e.g., Wong Sun v. United States, 371 U.S. 471, 485

(1963) (“Thus, verbal evidence which derives so immediately from an

unlawful entry and an unauthorized arrest is no less the ‘fruit’ of official

illegality than the more common tangible fruits of the unwarranted

intrusion.”). However, in United States v. Leon, 468 U.S. 897 (1984), the

Supreme Court recognized an exception to the exclusionary rule when

officers acting in good faith reasonably rely on a warrant later found to

be invalid. The good-faith exception will not save a warrant that is “so

facially deficient-i.e., in failing to particularize the place to be searched

or the things to be seized-that the executing officer cannot reasonably

presume it to be valid,” or a warrant “so lacking in indicia of probable

cause as to render official belief in its existence entirely unreasonable.”

Id., at 923.

      Here, Seaway challenged the search warrant on the ground that it

lacked probable cause because the search warrant application was based


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on accusations from an untested informant, who gave no indication of

being credible or reliable, and his information had not been corroborated

through an independent police investigation. The district court rejected

Seaway’s challenge, holding:

     The fact that Raymond was in jail for a serious crime
     undermines his veracity to some degree. In addition, it
     appears that, except for confirming Seaway’s address, police
     did not attempt to corroborate Raymond’s information.
     Nevertheless, interpreting Raymond’s declaration in a
     commonsense manner, the Court finds that under the totality
     of the circumstances, County Court Judge Todd had a
     substantial basis for concluding that probable cause existed.
     See Gates, 464 U.S. at 236. In his face-to-face interview with
     Investigator Miller, Raymond explained that he was Seaway’s
     nephew. He gave the police Defendant’s address, which the
     police confirmed. He explained why he was at Seaway’s home
     at the time of the incident and gave Investigator Miller a first-
     hand, detailed description of the conversation that led Seaway
     to show Raymond the photographs and videos. Raymond gave
     explicit details about the photographs and videos and
     explained that he knew the children were under 10 years old
     because he had children himself. Raymond’s first-hand
     observation of the photographs and videos and his detailed
     descriptions of them, as well as his detailed and plausible
     description of the surrounding circumstances, establish the
     basis of his knowledge and are strong indicia of the reliability
     of his statement. In addition, Raymond’s description of the
     manner in which Seaway stored the files is consistent with
     the affidavit of Investigator Eckler and provides additional
     indicia of reliability. The search warrant was supported by
     probable cause, and the evidence seized is admissible.


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A. 113.

The district court’s probable cause determination should not be afforded

“great deference” because the court’s probable cause determination

“reflected an improper analysis of the totality of the circumstances.” See

United States v. Falso, 544 F.3d 110, 117 (2d Cir. 2008) (citations

omitted).

     1.      Raymond’s tip did not bear sufficient “indicia of reliability” to
             establish probable cause to search Seaway’s residence and
             electronic devices.

     The affidavit of New York State Police Investigator Michael Eckler,

submitted in support of the search warrant, rested entirely upon the

uncorroborated hearsay allegations of William Raymond, III, who

provided the information while incarcerated for sexually abusing a 13-

year-old girl. A. 53, 58-67. If Raymond’s statements about Seaway’s

criminal activity were believable, then the warrant would likely be

supported by probable cause.          However, nothing contained within

Investigator Eckler’s affidavit, or Raymond’s statement, gave reason for

the issuing judge to believe that Raymond was a truthful and reliable

informant.


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      Raymond told a police investigator, during a “face-to-face

interview,” that Seaway, who was his uncle, had “at least 100 images and

videos” of child pornography on a computer located at his residence in the

Town of Granby, New York, which he personally observed while living

with Seaway “from August of 2015 through September 20, 2015.” A. 66.

These are the primary facts the district court relied upon when it

determined the issuing judge had “a substantial basis for concluding that

probable cause existed.” A. 113 (citing Gates, 462 U.S. at 236).

      However, missing from Raymond’s statement, and Investigator

Eckler’s affidavit, is the reason behind Raymond’s departure from

Seaway’s residence. Raymond’s exit was brought about by his September

24, 2015 arrest for committing the crimes of second degree rape, second

degree criminal sex act, and endangering the welfare of a child, against

a 13-year-old girl. A. 53. Raymond was held without bail on the charges

because he had two or more felony convictions, including felony grand

larceny and failure to pay restitution.10 A. 53-54. Raymond was 35 years

10A search of New York State Department of corrections inmate locator shows
Raymond was convicted in Onondaga County on March 14, 2016 of Rape, 2nd Degree,
Criminal Sexual Act, 2nd Degree, Class D Felonies, and sentenced to five years’
imprisonment. In 2007, Raymond was convicted in Oswego County of Attempted
Burglary, a Class E Felony, and sentenced to 1 ½ to 3 years imprisonment. In 2000,
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old at the time of his arrest. A. 53. None of this detail is included in the

search warrant application.

      The only information provided to the issuing judge about

Raymond’s criminal history was Raymond’s admission in his statement

that he was “locked up” for having a 13-year-old “girlfriend.” A. 66.

Although the judge issuing the warrant was kept in the dark about

Raymond’s current and past criminal history, the district court was not.

A. 53.11     Even so, the district court gave it little attention when

considering the totality of the circumstances, indicating that Raymond’s

incarceration for a “serious crime” undermined “his veracity to some

degree.” A. 113.

      The omitted information was important because Raymond’s

statement indicates he was sexually interested in underage females and

had a collection of “old girlfriends” saved to a microSD card connected to

his cellphone. A. 66. Raymond told the investigator that while he lived



Raymond was convicted in Oswego County of Grand Larceny, 3rd Degree, a Class D
Felony, and Unauthorized Use of a Motor Vehicle, 2nd Degree, a Class E Felony, and
sentenced to 2 to 6 years imprisonment. See http://nysdoccslookup.docs.ny.gov.
11 A copy of the news article detailing Raymond’s September 24, 2015 arrest, and a

portion of his prior felony convictions, was attached as Exhibit A to Seaway’s motion
to suppress. A. 53, 77.
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with Seaway, they “worked on computers together, repairing and

rebuilding them for other people.”        A. 66.   Raymond used Seaway’s

computer, knew Seaway’s computer password, and downloaded images

from his cellphone, through the microSD card, to Seaway’s computer, and

labeled the file “Billy’s phone.” A. 66-67. After he downloaded the files of

his old girlfriends to Seaway’s computer, he showed them to Seaway. A.

66. Raymond stated that Seaway then offered up hundreds of images

and videos of child pornography for Raymond’s viewing. A. 66. This

portion of Raymond’s statement weighs against truthfulness and

reliability because Raymond had known access to Seaway’s computer, he

knew child pornography would be found on Seaway’s computer because

he put it there, and he certainly had an interest in seeking assistance

from law enforcement on his pending state charges. A. 67. See Gagnon,

373 F.3d at 236 (“a criminal informer is less reliable than an innocent

bystander with ‘no apparent motive to falsify.’”).

     Also questionable is Raymond’s suggestion that he knew how to

decipher whether the females in the images were minors based on the

fact that he was the father to “7 kids between the ages of 5 and 16.” A.


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66. Raymond’s attempt to sanitize his basis of knowledge through his

children, rather than his own interest in child pornography, weighs

against his veracity and reliability as an informant.

       Moreover, out of the “100 images and videos” Raymond observed on

Seaway’s computer, he only described two images and two videos. A. 66-

67. Since Raymond had access to Seaway’s computer, there was no

reliable basis to believe that Raymond was not responsible for those

images and videos appearing on Seaway’s computer. Discounting this

possibility, the district court determined Raymond was credible because

of “his detailed descriptions” of the material he observed first-hand. A.

113.

       However, there was nothing unique or verifiable in Raymond’s

descriptions of the images and videos of child pornography that he

attributed to Seaway. With respect to the images, Raymond stated one

image was of a girl “about 6 years old sitting in a spread eagle position”

and the other was an image of “an underage girl on her hands and knees

in a doggy style pose” that showed her vagina. A. 66.




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     With respect to the videos, Raymond claimed Seaway had a hard

drive that had a bronze or gold outer cover that he would plug into his

main computer. A. 66.      This hard drive contained a folder with videos

“of young girls less than 10.” A. 66. One video was of a naked girl, maybe

11 or 12, dancing and possibly masturbating. A. 66. The other was of a

naked girl, possibly 5 or 6 years old, lying on a bed as an adult female

rubbed her chest and vagina. A. 66.

     Finally, Raymond’s reliability and veracity as an informant

continued to falter when he suggested that Seaway possessed a DVD that

contained a video and pictures taken by Seaway “5 or 6 years ago” of a

female. A. 66. Raymond claimed that Seaway told him the girl was a

friend of Seaway’s daughter and had stayed the night at his residence

when he lived at Indian Hill trailer park. A. 66. Raymond said Seaway’s

daughter was 7 or 8 years old at the time, but gave no age for the friend.

A. 66. According to Raymond, Seaway believed someone was abusing the

female because she brought lacy lingerie to sleep in. A. 66. Seaway told

Raymond “he was playing with her, but he was not specific about it” and

Raymond left the room without inquiring further. A. 66. Raymond never


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found the DVD, nor did he look for it after Seaway suggested it might be

in the light blue school bus parked behind Seaway’s residence. A. 66.

     Despite Raymond never laying eyes on the lost DVD, Investigator

Eckler, in his affidavit, transformed this portion of Raymond’s statement

as follows:

     It is alleged by William B. Raymond that his uncle Clif had
     sexually abused a child and that Clif Seaway possessed
     photographs he had taken of a young girl who stayed
     overnight at his residence several years ago. The deposition
     is attached for further details.

A. 63.

Yet, as described above, Raymond’s statement contains no such

allegation. Additionally, it contradicts Investigator Eckler’s affidavit,

which states:

     Based upon the training I have received, as well as experience
     conducting child pornography investigations that have led to
     the execution of search warrants and subsequent
     examinations of computer systems, I have learned that people
     who buy, produce, trade or sell child pornography rarely, if
     ever, dispose of their sexually explicit materials, and they
     treat these materials as “prized possessions.”

A. 63.

     The majority of individuals who collect child pornography
     rarely, if ever, dispose of their sexually explicit materials and

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      may go to great lengths to conceal and protect their collection
      of illicit materials from discovery, theft, and damage.

A. 64.

Surely, if the DVD contained images and videos of child pornography,

created by Seaway, it would be considered one of Seaway’s “prized

possessions,” which, according to Raymond was lost, and Seaway showed

no interest in finding.

      Also, in this regard, the district court relied on Investigator Eckler’s

affidavit as a way to credit Raymond, stating:

      In addition, Raymond’s description of the manner in which
      Seaway stored the files is consistent with the affidavit of
      Investigator Eckler and provides additional indicia of
      reliability.

A. 113.

This finding is erroneous for two reasons. First, the district court did not

point to any portion of Investigator Eckler’s eight-page affidavit that

addressed the storage of files.        Second, and relatedly, Raymond’s

statement contains no information about Seaway’s storage of files that

coincides with any portion of Investigator Eckler’s affidavit. A. 58-65, 66-

67.


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     Indeed, Raymond said only that Seaway showed him images of

“naked female kids” under the age of 10 from his computer and showed

him videos from a file located on a removable hard drive. A. 66. There is

nothing specific or unique about this portion of Raymond’s statement

that lends credibility or reliability to Raymond’s claims that Seaway

possessed images and videos of child pornography on his computer that

were not placed there by Raymond. Instead, Raymond’s statements about

his own conduct more accurately coincides with that portion of

Investigator Eckler affidavit describing the characteristics of collectors of

child pornography. A. 64. Raymond had images of “old girlfriends” saved

to a microSD card that was connected to his cellphone. A. 66. See A. 64

(Investigator Eckler Affidavit, “The majority of individuals who collect

child pornography rarely, if ever, dispose of their sexually explicit

materials and may go to great lengths to conceal and protect their

collection of illicit materials from discovery, theft, and damage.”).

     2.     Raymond’s tip was not sufficiently corroborated through an
            independent police investigation.

     Raymond’s statement caused Investigator Eckler to apply for a

warrant to search Seaway’s residence and vehicles, “including the blue

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colored charter bus located on the property,” to seize and search Seaway’s

computers and electronic devices for evidence constituting violations of

Articles 130 (sex offenses), 260 (offenses relating to children, disabled

persons and vulnerable elderly persons), and 263 (sexual performance by

a child) of the Penal Law of the State of New York. A. 58-65. Before

making this application, Investigator Eckler verified the address

Raymond provided for Seaway’s residence. As argued above, Raymond’s

statement lacked “sufficient indicia of reliability” because it did not do

enough to establish Raymond’s veracity or reliability. In such a case, if

law enforcement is able to independently corroborate some of the

information provided by an informant, it may be inferred that the

remaining, unverified information provided by the informant is also true.

See United States v. Canfield, 212 F.3d 713, 719 (2d Cir. 2000). But that

does not apply here, because, as the district court rightly found, “except

for confirming Seaway’s address, police did not attempt to corroborate

Raymond’s information.” A. 113.

     Although “partial corroboration of an informant is a circumstance

that, on totality review, may allow a judicial officer to credit the


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informant’s whole account,” this Court has held that “there are outer

limits, some grounded in law, others in common sense and experience.”

United States v. Clark, 638 F.3d 89, 98 (2d Cir. 2011) (citations omitted).

Here, law, common sense and experience combine to require the police to

corroborate more than the location of Seaway’s residence. Raymond, who

was incarcerated for sex offenses against a minor, already had at least

two prior felony convictions (omitted from the search warrant

application), clearly had every incentive to lie in order to receive leniency

in his pending rape charges. Under these circumstances, corroboration

was necessary.

     Law enforcement did not attempt to verify even the simplest details

of Raymond’s statement including whether Raymond had a cousin that

he lent his microSD card to; whether Seaway had ever lived at Indian

Hill Trailer Park; whether Seaway had a daughter with the name and

age identified by Raymond, and if so, whether that daughter had a friend

the same age that stayed at Seaway’s residence “5 or 6 years ago;” and

whether Seaway had “an old international school bus out behind his

trailer” that was “painted light blue.” A. 66. One critical detail that went


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unchecked was whether Raymond had actually lived with Seaway from

August of 2015 through September 20, 2015. A. 66.

     Investigator Eckler’s inaction conflicted with his purported claims

of “knowledge, experience, and training in child exploitation and child

pornography investigations.” A. 64. According to Investigator Eckler,

this training and experience made him familiar with “certain

characteristics common to individuals who have a sexual interest in

children,” including:

     The majority of individuals who collect child pornography
     often seek out like-minded individuals, either in person or via
     the Internet, to share information and trade depictions of
     child pornography and child erotica as a means of gaining
     status, trust, acceptance and support. The different Internet-
     based vehicles used by such individuals to communicate with
     each other include, but are not limited to, peer-to-peer,
     torrents, e-mail, bulletin boards, internet relay chat,
     newsgroups, instant messaging, and other similar vehicles.

A. 64.

Raymond told police that he watched Seaway pose as a five-year-old girl

while he played a virtual reality game called, “Second Life.” A. 67.

Seaway would attach “images of naked kids to his room within this

game,” for other players to view. A. 67. Although Investigator Eckler


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claimed to have specialized training in this area, he never verified

whether the game existed, and if so, whether Seaway was a participant.

     In sum, the district court’s probable cause determination is not due

any deference because the search warrant application was based entirely

on the word of man with no reason to tell the truth, and Raymond’s

accusations against Seaway were not corroborated through an

independent police investigation.

     3.     The good faith exception should not apply because the issuing
            judge was knowingly misled about Raymond’s criminal
            history and the warrant was “so lacking in indicia of probable
            cause as to render official belief in its existence entirely
            unreasonable.”

     In the court below, the government, relying on United States v.

Leon, 468 U.S. 897 (1984), argued that even if probable cause was

lacking, the exclusionary rule should not apply because the officers

executing the warrant acted in good faith. Because the district court

upheld the probable cause finding, the court did not believe it needed to

reach the good faith issue, but summarily held that “the agents executing

the warrant acted reasonably and in good faith and in objectively

reasonable reliance on the warrant.” A. 113.


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     There are four circumstances in which the good-faith exception to

the exclusionary rule does not apply: (1) where the issuing judge has

been knowingly misled, (2) where the issuing judge wholly abandoned his

judicial role, (3) where the application is so lacking in indicia of probable

cause as to render reliance upon it unreasonable, and (4) where the

warrant is so facially deficient, such as by failing to particularize the

place to be searched or the things to be seized that reliance upon it is

unreasonable. Leon, 468 U.S. at 923-924 (citations omitted).

     Here, the issuing judge was knowingly misled when Investigator

Eckler failed to provide the full extent of Raymond’s criminal history in

the search warrant application. This was a critical factor in the probable

cause determination because Raymond was an untested informant whose

reliability and veracity were at issue. Additionally, Investigator Eckler

affirmed under penalty of perjury that Seaway had told Raymond that

he sexually abused a minor and recorded it when that allegation was not

included anywhere in Raymond’s attached deposition. And, as fully set

forth above, the exclusionary rule should apply because the warrant was




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“so lacking in indicia of probable cause as to render official belief in its

existence entirely unreasonable.” Id., at 923.

     The exclusionary rule reaches not only primary evidence obtained

as a direct result of an illegal search or seizure, Weeks v. United States,

232 U.S. 383 (1914), but also evidence later discovered and found to be

derivative of an illegality or “fruit of the poisonous tree.” Nardone v.

United States, 308 U.S. 338, 341 (1939). The rule “extends as well to the

indirect as the direct products” of the constitutional violation. Wong Sun

v. United States, 371 U.S. 471, 484 (1963). Therefore, the exclusionary

rule applies not only to the physical evidence that was searched and

seized pursuant to the illegal search warrant, but also to the verbal

evidence provided by Seaway on February 24, 2016, as a direct result of

the execution of the warrant. A. 48, 68.




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                             CONCLUSION

     Based on the foregoing reasons, this Court should vacate the

judgment of the district court and remand with instructions to grant

Seaway’s suppression motion.

October 1, 2018                   Respectfully submitted,

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                       CERTIFICATE OF COMPLIANCE

         Pursuant to 2ND CIR. R. 32 (a)(7), undersigned counsel certifies that

this brief complies with the type-volume limitations of FED. R. APP. P. 32

(a)(7).

1.       Exclusive of the portions exempted by FED R. APP. P. 32(a)(7)(B)(iii),

this brief contains 6,680 words.

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                                /s/

                                MELISSA A. TUOHEY
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                      CERTIFICATE OF SERVICE

      I, Valarie Bruni, certify that today, October 1, 2018, one copy of the
Appellant’s Brief and Appendix, was served upon Mr. Grant C. Jacquith,
United States Attorney, through Steven D. Clymer, AUSA, 100 South
Clinton Street, Syracuse, New York 13261, by CM/ECF followed by hand
delivery.


                                          /s/
                                          Valarie Bruni




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